                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA


RUDY G. PASTORA-CABRERA,                 )
                                         )
                  Plaintiff,             )
                                         )                  AMENDED
v.                                       )                  COMPLAINT
                                         )
PAVERS, WALLS AND STAMPED CONCRETE, )
LLC, CJG PROPERTY INVESTMENTS, LLC,      )
EDITH GRANCHO, and JOAQUIM GRANCHO, )
                                         )                  Civil Action No.:
                                         )                  3:19-cv-427-FDW-DCK
                          Defendants.    )
________________________________________ )

       Pursuant to Rule 15(a)(1)(B), Fed.R.Civ.P., the plaintiff files this Amended Complaint as a

matter of course .

I.     PRELIMINARY STATEMENT

       1.      This is an individual action pursuant to the Fair Labor Standards Act ("FLSA"), 29

U.S.C. §216(b), the NC Wage and Hour Act ("NCWHA"), N.C.Gen.Stat. § 95-25.1 et seq., and the

SC Payment of Wages Act, (“SCPWA”), S.C.Code Ann. § 41-10-10 et seq., by one former

employee against two closely held limited liability companies owned and operated by the husband

and wife defendants as part of their road paving and concrete barrier enterprise in and around

Charlotte, North Carolina and Fort Mill, South Carolina in and around Mecklenburg County, North

Carolina, and in and around York County, South Carolina.

       2.      The defendant limited liability companies were and are part of a single business

enterprise operated by their owner/managers defendants Edith Grancho and Joaquim Grancho since

their creation one in 2008 and the other in 2017 in one or more counties in North Carolina and




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South Carolina that are listed in 28 U.S.C. §§ 113(c) and 121(7). This action is brought under the

FLSA for unpaid overtime wages based upon the defendants’ failure to pay the plaintiff the wages

he was due at 1½ times the regular rate of hourly wages that the defendants disclosed to the plaintiff

as required by 29 U.S.C. §207(a)(1) when the defendants jointly and severally employed the

plaintiff to perform hours worked in excess of forty hours in the same workweek.

       3.      For the work that the plaintiff performed in North Carolina when his hours worked

in the same workweek totaled more than 40, the plaintiff also brings this action as an individual

action under N.C.Gen.Stat. §§ 95-25.6, 95-25.13(1)-(2), and 95-25.22(a)-(a1) and 95-25.22(d)

based upon the defendants’ failure to pay the plaintiff all wages when due on his regularly

scheduled payday for all hours worked in those same workweeks in North Carolina. This failure

occurred when the defendants failed to pay plaintiff promised wages at 1½ times the regular rate of

hourly wages that the defendants disclosed to the plaintiff pursuant to N.C.Gen.Stat. §§ 95-

25.13(1)-(2) for all hours worked by the plaintiff in excess of 40 hours in the same workweek, and

fabricated payroll records and wage statements to enforce an unwritten policy or practice with

regard to wages that reduced the regular rate of hourly wages for which the defendants paid the

plaintiff to pay him less than the amount of promised wages he was due for workweeks in which he

worked more than 40 hours in the same workweek in violation of N.C.Gen.Stat. § 95-25.6, and 13

NCAC §§ 12.0803, and 12.0805(c).

       4.      For the work that the plaintiff performed in South Carolina when his hours worked

in the same workweek totaled more than 40, the plaintiff also brings this as an individual action

under S.C. Code Ann. §§ 41-10-30(A), 41-10-40(D), and 41-10-80(C) based upon the defendants’

failure to pay the plaintiff all wages when due on his regularly scheduled payday for all hours




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worked in those same workweeks in South Carolina. This failure occurred when the defendants

failed to pay plaintiff promised wages at 1½ times the regular rate of hourly wages that the

defendants disclosed to the plaintiff pursuant to S.C. Code Ann. § 41-10-30(A) without giving any

written notification of any change in that regular rate at least seven days before the change in that

regular rate became effective for all hours worked by the plaintiff in excess of 40 hours in the same

workweek, and fabricated payroll records and wage statements to enforce an unwritten policy or

practice with regard to wages that reduced the regular rate of hourly wages for which the defendants

paid the plaintiff to pay him less than the amount of promised wages he was due for workweeks in

which he worked more than 40 hours in the same workweek in violation of S.C. Code Ann. §§ 41-

10-30(A), 41-10-40(D), and 41-10-80(C).

       5.      In the alternative, in the event that the plaintiff’s employment in North Carolina by

the defendants in excess of 40 hours in the same workweek is not covered by the FLSA, this action

is brought under N.C.Gen.Stat. §§ 95-25.4 and 95-25.22(a)-(a1) of the NCWHA and the NCWHA

statutes cited in ¶3 above of this Complaint based upon the defendants’ failure to pay the named

plaintiff all promised wages as described in ¶3 above and at the overtime rate required by

N.C.Gen.Stat. § 95-25.4 that the defendants disclosed to him pursuant to N.C.Gen.Stat. §§ 95-

25.13(1)-(2) and at the rate required by N.C.Gen.Stat. § 95-25.4 when those wages were due

pursuant to N.C.Gen.Stat. § 95-25.6 of the NCWHA for those workweeks in which the plaintiff

worked in excess of forty hours in the same workweek.

       6.      Based upon his claims under 29 U.S.C. § 207 of the Fair Labor Standards Act, his

NCWHA claims under N.C.Gen.Stat. §§ 95-25.6 and 95-25.13(1)-(2) that are described in ¶3

above, his SCWPA claims under the S.C. Code Ann. §§ 41-10-30(A), 41-10-40(D), and 41-10-




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80(C) that are described in ¶4 above, and the plaintiff’s alternative claims under N.C.Gen.Stat. §§

95-25.4, 95-25.6, and 95-25.13(1)-(2) of the NCWHA that are described in ¶5 above, the plaintiff

seeks payment of back wages and an equal amount of liquidated damages, attorney fees, interest,

and costs under 29 U.S.C. §216(b) and N.C.Gen.Stat. §§95-25.22(a), (a1), and (d) for the work he

performed in North Carolina when he worked more than 40 hours in the same workweek, and

payment of back wages trebled, attorney fees, interest, and costs under S.C. Code Ann. § 41-10-

80(C).

II.      JURISDICTION

         7.    Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. §§1331 and 1337, 29

U.S.C. § 216(b), and 28 U.S.C. §1367(a).

         8.    This Court has the power to grant declaratory relief pursuant to 28 U.S.C. Sections

2201 and 2202.

III.     VENUE

         8A.   Venue over this action lies in this Court pursuant to 28 U.S.C. §§1391(b)(2), and 29

U.S.C. §216(b).    At all times relevant to this action continuing through the present date, a

substantial part of the events or omissions giving rise to this action by the plaintiff occurred in one

or more of the counties listed in 28 U.S.C. § 113(c).

IV.      NAMED PLAINTIFF

         9.    Plaintiff Rudy G. Pastora-Cabrera was continuously and jointly employed as a

laborer by the construction enterprises Pavers, Walls and Stamped Concrete, LLC and CJG

Property Investments, LLC operated by defendants Edith Grancho and Joaquim Grancho beginning

by at August 2014 until that employment was interrupted for about 2-3 months in 2016, and then




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re-employed by the defendants without interruption until in or about July 2019. All of the work that

the plaintiff performed when he was jointly employed by those defendants during that time period

occurred in North Carolina with the exception that from in or about February 2018 through in or

about June 2019 when the work the plaintiff performed occurred in South Carolina. The plaintiff

presently lives in Charlotte, North Carolina.

V.     DEFENDANTS

       10.     At all times relevant to this action, the defendant closely held for profit limited

liability companies Pavers, Walls and Stamped Concrete, LLC (hereinafter referred to as “PWSC”)

and CJG Property Investments, LLC (hereinafter referred to as “CJG”) were and continue to be a

single business enterprise owned and operated by and under the common management of defendant

Edith Grancho and her husband, defendant Joaquim Grancho, for common business purposes

including but not limited to the provision of residential construction and housing services in and

around Mecklenburg County, North Carolina and York County, South Carolina.

       11.     At all times relevant to this action, defendant PWSC specialized and continues to

specialize in commercial and residential concrete work, which includes barrier walls, sidewalks,

driveways and curb and gutter under the joint control of member-managers and owners Edith

Grancho and her husband, Joaquim Grancho.

       12.     At all times relevant to this action, PWSC had its principal place of business at 1211

Cabin Creek Court, Fort Mill, South Carolina 29715. In addition, upon information and belief,

PWSC parked, serviced and located the construction equipment and vehicles that PWSC owned

and used in its commercial and residential concrete work at 6047 Tyvola Glen Circle, Charlotte,

North Carolina 28217-6431.




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       13.     At all times relevant to this action, CJG had its principal place of business at 140

Bingham Drive, Charlotte, North Carolina 28213. In addition, upon information and belief, CJG

parked, serviced and located the vehicles and equipment that CJG owned and used in its

commercial and residential real estate work at either 140 Bingham Drive, Charlotte, North Carolina

28213, and/or 6047 Tyvola Glen Circle, Charlotte, North Carolina 28217-6431.

       14.     Defendant PWSC was and is a limited liability company organized under the laws

of the State of South Carolina in 2008 and authorized to do business on an intermittent basis in the

State of North Carolina since 2013. At all times relevant to this action, its registered agent for

service of process was and is Leonor Rico, 8318 Pineville-Mathews Road, Suite 280-F, Charlotte,

North Carolina 28226, and its member/managers were and are Edith Grancho and Joaquim

Grancho, 1211 Cabin Creek Court, Fort Mill, South Carolina 29715.

       15.     Defendant CJG was and is a limited liability company organized under the laws of

the State of North Carolina in 2017 and authorized to do business in the State of North Carolina

since 2017. At all times relevant to this action, its registered agent for service of process was and,

until at least November 23, 2019, is Christine Carlini, 3804 Meeting Street, Indian Trail, North

Carolina 28079, and its member/managers were and are Edith Grancho and Joaquim Grancho, 1211

Cabin Creek Court, Fort Mill, South Carolina 29715.

       16.     Upon information and belief, during each calendar year falling in the four year time

period immediately preceding the date on which this action was filed, the single business enterprise

of CJG and PWSC or PWSC standing alone as a business entity that was and continues to be

owned by defendants Edith Grancho and Joaquim Grancho had a combined annual gross volume of

sales made or business done of not less than $500,000 exclusive of excise taxes at the retail level




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that were separately stated.

       17.     During each calendar year falling in the four year time period immediately

preceding the date on this action was filed, more than one employee of both the business enterprise

of PWSC and the business enterprise consisting of the combined business activities of PWSC and

CJG handled goods or equipment or otherwise worked on goods or materials that had been moved

in or produced for interstate commerce as part of their employment in each of those two business

enterprises. Those goods, equipment, and materials included, but were not limited, to the vehicles

and some of the construction materials that the plaintiff and similarly situated employees handled

and/or operated for the defendants as part of their regular employment duties for one or more of the

defendants.

       18.     In 2016, 2017, 2018, and in 2019, the defendants also employed the plaintiff in

interstate commerce in the construction of concrete barriers, slope protection, and other concrete

curbing for roads used in part for interstate travel and in the production of goods for interstate

commerce in the form of footings, reinforcing, gravel, concrete and finishing, retaining and

structural walls using forms, shoring, pumps, waterproofing and backfill.

VI.    FACTUAL ALLEGATIONS

       19.     The plaintiff was jointly and severally employed by each of the defendants in the

defendants’ enterprise that is described in ¶¶10-18 above to perform construction work for the

defendants’ customers in and around Mecklenburg County, North Carolina and in and around York

County, South Carolina for the varying periods of time described in ¶¶9-18, inclusive, above of this

complaint in that same enterprise. At all times relevant to this action, the defendants regularly

employed and jointly employed in the defendants’ enterprise a workforce of approximately 20 to 30




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other employees in more than one construction crew that the defendants assigned to work at a

number of different worksites on any given day.

       20.     During the entire time period that is described in ¶¶9-18, inclusive, above of this

Complaint, acting pursuant to N.C.Gen.Stat. § 95-25.13(1)-(2) and 29 C.F.R. § 516.4, the

defendants posted and maintained written notices in a conspicuous place accessible to the plaintiff

and his co-workers a written statement that was easily, readily, and promptly viewed for reading by

the plaintiff and his co-workers that they would pay at the rate of 1½ times the regular rate of hourly

pay to all employees paid on an hourly basis who performed more than 40 hours worked in the

same workweek for the defendants.

       21.     The plaintiff worked as a laborer and equipment operator in one or more of those

crews of workers that the defendants selected, hired, and employed in 2016, 2017, 2018, and 2019.

During each of those same years, the defendants jointly employed the plaintiff and the workers in

those crews.

       22.     The defendants and their project supervisor Felipe Hernandez directed, controlled,

and supervised the plaintiff’s work on a day to day basis. Acting on the defendants’ behalf, Mr.

Hernandez recorded in a paper notebook by hand the start and stop times for hours worked for the

defendants by the plaintiff and his co-workers. That direction and control included but was not

limited to regular determinations as to the number of workers who would be assigned to work at a

particular worksite as members of the crew in which the plaintiff worked on a daily basis, daily

determinations as to the particular work assignments that the plaintiff and his fellow crew members

were to perform on each day, and the particular work assignments to be performed by one or more

other crews of workers on other concrete construction sites at which the defendants supplied other




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worker crews for other customers of the defendants as part of the defendants’ enterprise.

       23.      The defendants provided and paid for workers’ compensation insurance for the

work performed by the plaintiff, the workers in the plaintiff’s crew, and the other concrete

construction workers that the defendants supplied to the defendants’ customers as part of the

defendants’ enterprise.

       24.      The defendants supplied, fueled, and maintained all of the major equipment and

vehicles that were necessary for the day to day operation of the equipment and PowerCurber

equipment that PWSC used to construct, provide, pour, or produce curbs, gutters, slope protection,

sidewalks, footings, reinforcing, gravel, concrete and finishing materials, and to build retaining

and structural walls with stairs, slopes, and radius using forms, shoring, pumps, waterproofing

and backfill.

       25.      Acting in combination, the defendants supplied all of the funds to pay the

plaintiff, the individual workers that were members of the crew of which the plaintiff was a

member, determined their rates of pay, hours worked, and when and how they were paid.

       26.      In 2016 and continuing in 2017 through the workweek ending March 18, 2017,

acting pursuant to N.C.Gen.Stat. § 95-25.13(1)-(2), the defendants disclosed to the plaintiff that

his promised wages would be calculated at a regular rate of hourly pay of $16 per hour. During

that entire time period, on the plaintiff’s regularly scheduled payday the defendants made a

partial payment on the plaintiff’s regular scheduled payday at an hourly rate that was less than

$16 per hour without any written or posted notice to the plaintiff before that scheduled payday of

this change in the plaintiff’s promised wages for less than the accurate total of hours worked

during that weekly pay period towards the weekly wages that were due by one paycheck from




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which the defendants made all applicable wage tax, Medicare, and Federal Income Act (FICA)

withholdings.

       27.      During the same time period described in ¶26 above, by separate check written by

the defendants, the defendants paid the rest of the wages due the plaintiff for that same workweek

at the regular rate of $16 per hour without making or paying any of the required wage tax,

Medicare, and Federal Income Act (FICA) withholdings or payments. In addition, with that

separate and second wage check, the defendants often determined and disclosed the correct

number of hours worked by a handwritten calculation that they attached as a post-it note to the

second wage check to explain how the amount of that second check was calculated. For those

workweeks during this same time period when the total of hours worked exceeded 40, the total of

wages paid by the two checks described in this paragraph and in ¶26 above was only equal to the

correct total of hours worked by the plaintiff for that workweek multiplied by the regular rate of

$16 per hour without any payment of any extra compensation at 50% of the regular rate of $16

per hour.

       28.      Starting with the workweek ending with March 25, 2017 and continuing through

the remainder of 2017, acting pursuant to N.C.Gen.Stat. § 95-25.13(1)-(2), the defendants

disclosed to the plaintiff that his promised wages would be calculated at a regular rate of hourly

pay of $18 per hour. During that entire time period, on the plaintiff’s regularly scheduled payday

the defendants made a partial payment on the plaintiff’s regularly scheduled payday at an hourly

rate that was less than $18 per hour without any written or posted notice to the plaintiff before

that scheduled payday of this change in the plaintiff’s promised wages for less than the accurate

total of hours worked during that weekly pay period towards the weekly wages that were due by




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one paycheck from which the defendants made all applicable wage tax, Medicare, and Federal

Income Act (FICA) withholdings.

       29.     During the same time period described in ¶28 above, by separate check written by

the defendants, the defendants paid the rest of the wages due the plaintiff for that same workweek

at the regular rate of $18 per hour without making or paying any of the required wage tax,

Medicare, and Federal Income Act (FICA) withholdings or payments. In addition, with that

separate and second wage check, the defendants often determined and disclosed the correct

number of hours worked by a handwritten calculation that they attached as a post-it note to the

second wage check to explain how the amount of that second check was calculated. For those

workweeks during this same time period when the total of hours worked exceeded 40, the total of

wages paid by the two checks described in this paragraph and in ¶28 above was only equal to the

correct total of hours worked by the plaintiff for that workweek multiplied by the regular rate of

$18 per hour without any payment of any extra compensation at 50% of the regular rate of $18

per hour.

       30.     In January 2018 and continuing in 2019 through the last workweek that the

plaintiff was employed by the defendants in July 2019, acting pursuant to N.C.Gen.Stat. § 95-

25.13(1)-(2), the defendants disclosed to the plaintiff that his promised wages would be

calculated at a regular rate of hourly pay of $20 per hour. During that entire time period, the

defendants made a partial payment on the plaintiff’s regularly scheduled payday at an hourly rate

that was less than $20 per hour without any written or posted notice to the plaintiff before that

scheduled payday of this change in the plaintiff’s promised wages for less than the accurate total

of hours worked during that weekly pay period towards the weekly wages that were due by




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paycheck from which the defendants made all applicable wage tax, Medicare, and Federal

Income Act (FICA) withholdings.

       31.     During the same time period described in ¶30 above, by separate check written by

the defendants, the defendants paid the rest of the wages due the plaintiff for that same workweek

at the regular rate of $20 per hour without making or paying any of the required wage tax,

Medicare, and Federal Income Act (FICA) withholdings or payments. In addition, with that

separate and second wage check, the defendants often determined and disclosed the correct

number of hours worked by a handwritten calculation that they attached as a post-it note to the

second wage check to explain how the amount of that second check was calculated. For those

workweeks during this same time period when the total of hours worked exceeded 40, the total of

wages paid by the two checks described in this paragraph and in ¶30 above was only equal to the

correct total of hours worked by the plaintiff for that workweek multiplied by the regular rate of

$20 per hour without any payment of any extra compensation at 50% of the regular rate of $20

per hour.

       32.     In the time period beginning with the date falling three chronological years

immediately preceding the date on which this action was filed and ending with the date falling two

chronological years immediately preceding the date on which this action was filed, the plaintiff

worked at least four workweeks in which he performed more than 40 hours worked for the

defendants in the defendants’ enterprise described in ¶¶10-19 above in both North Carolina and

South Carolina.

       33.     In the time period beginning with the date falling two chronological years

immediately preceding the date on which this action was filed and ending with the date on which




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this action was filed, the plaintiff worked at least ten workweeks in which he performed more than

40 hours worked for the defendants in the defendants’ enterprise described in ¶¶10-19 above in

North Carolina and at least four workweeks in which he performed more than 40 hours worked for

the defendants in the defendants’ enterprise described in ¶¶10-19 above in South Carolina.

       34.     During all of calendar years 2016, 2017, 2018, and in 2019, the defendants failed to

pay to plaintiff wages at the overtime rate required by 29 U.S.C. § 207(a)(1) for all hours worked

over 40 in the same workweek that the defendants jointly and severally employed the plaintiff in the

defendants’ enterprise that is described in ¶¶10-19 above for the hours worked that are described in

¶¶20-33 above of this Complaint.

       35.     During all of calendar years 2016, 2017, 2018, and2019, the defendants failed to pay

to plaintiff promised wages in violation of under N.C.Gen.Stat. § 95-25.13(1)-(2) and 13 NCAC §§

12.0803 and 12.0805(c) at 1½ times the regular rate described or referred to in ¶¶20 and 26-31

above of this Complaint for all hours worked over 40 in the same workweek that the defendants

jointly and severally employed the plaintiff in the defendants’ enterprise that is described in ¶¶10-19

above of this Complaint.

       36.     As a direct and proximate result of the actions and omissions that are alleged in ¶34

above, when the plaintiff worked in excess of forty (40) hours per week in the same workweek he

did not receive wages from the defendants at the rate and in the amount required by 29 U.S.C. §

207 or, in the alternative, in the amount required by N.C.Gen.Stat. § 95-25.4.

       37.     As a direct and proximate result of the actions and omissions that are alleged in ¶35

above, when the plaintiff worked in excess of forty (40) hours per week in the same workweek he

did not receive wages when those wages were due from the defendants on their regular weekly




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payday at the rate and in the amount required by N.C.Gen.Stat. § 95-25.6 or, in the alternative, in

the amount required by N.C.Gen.Stat. § 95-25.4.

       38.     During all of those same workweeks described in ¶¶19-31, inclusive, 33, 35, and 37

above, the plaintiff had and have an express or implied agreement with the defendants that one or

more of the defendants would pay them all promised wages when those wages were due on the

regular payday for those wages at the rate and for the hours worked that the defendants disclosed to

them pursuant to N.C.Gen.Stat. § 95-25.13(1)-(2) for all hours worked that the plaintiff performed

for defendants in the defendants’ enterprise as alleged above.

       39.     The defendants have not complied and, upon information and belief, will not

comply with the express or implied agreement described in ¶38 above, and by failing to comply,

has failed to pay the plaintiff all of the wages that the plaintiff was and is due when those wages

were due on his regular payday in violation of G.S. § 95-25.6.

       40.     Long before 2016, each of the defendants was and continues to be an experienced

employer who was and continues to be familiar with the FLSA, the NCWHA, and the SCPWA and

the requirements of all of those statutes with respect to what they require and required with respect

to the wage rate to be paid for work in excess of forty (40) hours in the same workweek, payment of

promised wages when due at the promised rate, what is and was considered to be the regular rate at

which an employee is employed, and when a person is considered to be an employee under the

FLSA, the NCWHA, and the SCPWA. The defendants acted in reckless and willful disregard of

the requirements of the FLSA and the SCPWA with respect to these matters, and as a consequence

of this willful and reckless disregard of the rights of the plaintiff to payment of wages at the

overtime rate required by 29 U.S.C. § 207(a) and the payment of all wages when due at the




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promised rate, the rights of the plaintiff under 29 U.S.C. § 207(a) and under the SCPWA have been

violated for the entire three-year time period immediately preceding the date on which this action

was filed.

VII.     FIRST CLAIM FOR RELIEF (FLSA § 207)

         41.    Paragraphs 7 through 34, 36, and 40 above are realleged and incorporated herein by

reference by the plaintiff against all defendants.

         42.    The defendants did not pay all wages due to the named plaintiff at the rate required

by 29 U.S.C. § 207(a) for the work described in ¶¶9-34, inclusive, 36, and 40 above of this

Complaint that was part of the defendants’ enterprise that is described in ¶¶10-18 above.

         43.    As a result of the willful and reckless disregard of the right of the plaintiff above to

payment of wages at the overtime rate required and described in 29 U.S.C. § 207(a), the plaintiff

has suffered damages in the form of unpaid wages and liquidated damages that may be recovered

under 29 U.S.C. §216(b).

VIII.    SECOND CLAIM FOR RELIEF (NCWHA §§ 95-25.6 & 95-25.13(1)-(2))

         44.    Paragraphs 7 through 33, inclusive, 35, and 37-39, inclusive above are realleged and

incorporated herein by reference by the plaintiff against all defendants for the hours worked that he

performed for defendants in North Carolina.

         45.    The defendants did not pay and will not pay all wages due when those wages were

and will be due to the named plaintiff for the work described in ¶¶7 through 33, inclusive, 35, and

37-39 above of this Complaint in violation of the agreement described in ¶¶38-39 above of this

Complaint, the disclosures described in ¶¶20, 26, 28, and 30 above, and N.C.Gen.Stat. §§ 95-

25.13(1)-(2), and 95-25.6.




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       46.     As a result of these actions of the defendants in violation of the rights of the

plaintiff, the plaintiff has suffered damages in the form of unpaid wages, interest on unpaid wages,

and liquidated damages that may be recovered under N.C.Gen.Stat. §§95-25.22(a) and 95-

25.22(a1).

IX.    THIRD CLAIM FOR RELIEF (SCPWA S.C. Code Ann. §§ 41-10-30, 41-10-40, and 41-
       10-80)

       47.     Paragraphs 7 through 33, inclusive, 35, and 37-39, inclusive above are realleged and

incorporated herein by reference by the plaintiff against all defendants for the hours worked that the

plaintiff performed for defendants in South Carolina.

       48.     The defendants did not pay and will not pay all wages due when those wages were

and will be due to the named plaintiff for the work described in ¶¶7 through 33, inclusive, 35, and

37-39 above of this Complaint in violation of the agreement described in ¶¶38-39 above of this

Complaint, the disclosures described in ¶¶20, 26, 28, and 30 above, and S.C.Code Ann. §§ 41-10-

30(A) and 41-10-40(D).

       49.     As a result of these actions of the defendants in violation of the rights of the

plaintiff, the plaintiff has suffered damages in the form of unpaid wages, interest on unpaid wages,

and treble damages that may be recovered under S.C.Code Ann. § 41-10-80(C).

X.     THIRD CLAIM FOR RELIEF (Alternative Claim - NCWHA § 95-25.4)

       50.     In the alternative to the First Claim for Relief alleged in ¶¶41-43 above of the

complaint, in the event that the plaintiff’s employment by the defendants is not covered by the

FLSA, ¶¶7 through 33, and 35-39, inclusive, above are realleged and incorporated herein by

reference by the named plaintiff against all defendants under the NCWHA and the SCPWA.




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       51.     The defendants did not pay and will not pay all wages due when those wages were

and will be due to the plaintiff for the work described in ¶¶9-33, inclusive, and 35-39, inclusive,

above of this Complaint in violation of N.C.Gen.Stat. §§ 95-25.4 and 95-25.6 and S.C.Code Ann.

§§ 41-10-30(A) and 41-10-40(D).

       52.     The defendants did not pay all wages due when those wages were due at the rate

required by N.C.Gen.Stat. § 95-25.4 and S.C.Code Ann. §§ 41-10-30(A) and 41-10-40(D) to the

plaintiff for the work described in ¶¶9-33, inclusive, and 35-39, inclusive, above of this Complaint

in violation of N.C.Gen.Stat. §§ 95-25.4 and 95-25.6 and S.C.Code Ann. § 41-10-40(D).

       50.     As a result of these actions of the defendants in violation of the rights of the plaintiff

under N.C.Gen.Stat. §§ 95-25.4 and 95-25.6 and S.C.Code Ann. §§ 41-10-30(A) and 41-10-40(D),

the plaintiff has suffered damages in the form of unpaid wages, interest on those unpaid wages, and

liquidated damages that may be recovered under N.C.Gen.Stat. §§95-25.22(a) and 95-25.22(a1) and

S.C.Code Ann. § 41-10-80(C).

       WHEREFORE Plaintiff respectfully requests that the Court:

       (a)     Grant a jury trial on all issues so triable;

       (b)     Enter judgment under the FLSA against defendants Pavers, Walls and Stamped

Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim Grancho, , jointly

and severally, and in favor of the plaintiff for compensatory damages against the defendants Pavers,

Walls and Stamped Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim

Grancho under the First Claim for Relief in an amount equal to the total of the unpaid wages due

the plaintiff for any workweek in which the plaintiff performed any of the work described in ¶¶9-

34, inclusive, 36, and 40 above of the Complaint, plus an equal additional amount as liquidated




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damages under 29 U.S.C. § 216(b), plus any interest in the manner and at the rate authorized by law

under 29 U.S.C. § 216(b);

       (c)     Enter judgment under the NCWHA against defendants Pavers, Walls and Stamped

Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim Grancho, jointly and

severally, and in favor of the plaintiff for compensatory damages against the defendants Pavers,

Walls and Stamped Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim

Grancho under the Second Claim for Relief in an amount equal to the total of the unpaid wages due

the plaintiff under N.C.Gen.Stat. §§ 95-25.6, 95-25.13(1)-(2), 13 NCAC Tit. 12 §§ .0803 and

.0805, and 95-25.22(a) for any workweek in which the plaintiff performed any of the work in North

Carolina that is described in ¶¶9-33, inclusive, 35, and 37-39, inclusive, above of the Complaint,

plus an equal additional amount as liquidated damages under N.C.Gen.Stat. § 95-25.22(a1), plus

any interest in the manner and at the rate authorized by N.C.Gen.Stat. § 95-25.22(a);

       (d)     Enter judgment under the SCPWA against defendants Pavers, Walls and Stamped

Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim Grancho, jointly and

severally, and in favor of the plaintiff for compensatory damages against the defendants Pavers,

Walls and Stamped Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim

Grancho under the Second Claim for Relief in an amount equal to the total of the unpaid wages due

the plaintiff under S.C.Code Ann. 41-10-80(C) for any workweek in which the plaintiff performed

any of the work in South Carolina that is described in ¶¶9-33, inclusive, 35, and 37-39, inclusive,

above of the Complaint, plus treble the amount of those unpaid wages as liquidated damages under

S.C.Code Ann. 41-10-80(C), plus any interest in the manner and at the rate authorized by S.C.Code

Ann. 41-10-80(C);




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       (e)     in the alternative to the relief prayed for in ¶(b) above under the FLSA, enter

judgment under the NCWHA against defendants Pavers, Walls and Stamped Concrete, LLC, CJG

Property Investments, LLC, Edith Grancho, and Joaquim Grancho, jointly and severally, and in

favor of the plaintiff for compensatory damages against the defendants Pavers, Walls and Stamped

Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim Grancho under the

Third Claim for Relief in an amount equal to the total of the unpaid wages due the plaintiff under

N.C.Gen.Stat. §§ 95-25.4, 95-25.6, 95-25.13(1)-(2), 13 NCAC Tit. 12 §§ .0803 and .0805, 95-

25.22(a), and S.C.Code Ann. §§ 41-10-30(A), 41-10-40(D), and 41-10-80(C) for any workweek in

which the plaintiff performed any of the work described in ¶¶9-33, inclusive, 35, and 37-39,

inclusive, above of the Complaint, plus an equal additional amount as liquidated damages for the

hours worked in North Carolina, or treble damages for the hours worked in South Carolina under

N.C.Gen.Stat. § 95-25.22(a1) and S.C.Code Ann. § 41-10-80(C), plus any interest in the manner

and at the rate authorized by N.C.Gen.Stat. § 95-25.22(a) and S.C.Code Ann. § 41-10-80(C);

       (f)     Award the plaintiff the costs of this action against the defendants, jointly and

severally;

       (g)     Award the named plaintiff reasonable attorney fees under and N.C.Gen.Stat. §95-

25.22(d), S.C.Code Ann. § 41-40-80(C), and 29 U.S.C. §216(b) against the defendants, Pavers,

Walls and Stamped Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim

Grancho, jointly and severally;

       (h)     Award prejudgment and post judgment interest against the defendants, Pavers,

Walls and Stamped Concrete, LLC, CJG Property Investments, LLC, Edith Grancho, and Joaquim

Grancho, jointly and severally, at the highest amount authorized by applicable law on any amount




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of monetary damages awarded for back wages as requested in paragraph (c), (d), and/or (e) of this

Prayer for Relief based upon such date(s) as may be appropriate under applicable law;

       (i)     Award such other relief as may be just and proper in this action.



                      This the 6th day of November, 2019.

                                              LAW OFFICE OF ROBERT J. WILLIS, P.A.

                                      BY:/s/Robert J. Willis
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                                     CERTIFICATE OF SERVICE

       I hereby certify that on this date a true and correct copy of the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system which will send

e l e c t r o n i c notification of such filing to the following:

 C. Kiel Garella, Esq.
 Garella Law, P.C.
 409 East Boulevard
 Charlotte, NC 28203
 Email: Kiel@GLjustice.com

                                                     This the 6th day of November, 2019.

                                                     /s/ Robert J. Willis
                                                     R obert J . W i l l i s , Esq.
                                                     N.C. Bar No.: 10730




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                            CERTIFICATE OF SERVICE

     I hereby certify that on this date a true and correct copy of the foregoing

document was electronically filed with the Clerk of the Court using the CM/ECF system,

and that a copy of the foregoing was this day mailed by U.S. Mail, first class delivery,

postage prepaid, addressed to the following person:

                           Randy C. Blalock
                           1533 Cates Mill Road
                           Roxboro, NC 27574

                                          This the ___day of September, 2019.

                                          /s/ Robert J. Willis
                                          Robert J. Willis, Esq.
                                          N.C. Bar No.: 10730




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